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  Exhibit G-1
  Sahady Information
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,                      :     NO.     21-mj-00108-RMM
                                                 :
                                                 :     VIOLATIONS:
                                                 :
           v.                                    :     (18 U.S.C. 1752(a)(1)
                                                 :     (Entering or Remaining in Restricted
  MARK SAHADY,                                   :     Building or Grounds)
                                                 :     18 U.S.C. § 1752(a)(2)
           Defendant.                            :     (Disorderly and Disruptive Conduct in a
                                                 :     Restricted Building or Grounds)
                                                 :     40 U.S.C. § 5104(e)(2)(D)
                                                 :     (Disorderly Conduct in
                                                 :     a Capitol Building)



                                          INFORMATION

           The United States Attorney charges:

                                            COUNT ONE

           On or about January 6, 2021, in the District of Columbia, MARK SAHADY, did

  unlawfully and knowingly enter and remain in a restricted building and grounds, that is, any posted,

  cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where

  the Vice President and Vice President-elect were temporarily visiting, without lawful authority to

  do so.

  (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18, United
  States Code, Section 1752(a)(1))

                                           COUNT TWO

           On or about January 6, 2021, in the District of Columbia, MARK SAHADY, did

  knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

  official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
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  restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

  within the United States Capitol and its grounds, where the Vice President and Vice President-

  elect were temporarily visiting, when and so that such conduct did in fact impede and disrupt the

  orderly conduct of Government business and official functions.

  (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation of Title
  18, United States Code, Section 1752(a)(2))

                                          COUNT THREE

         On or about January 6, 2021, in the District of Columbia, MARK SAHADY, willfully and

  knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the

  intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House

  of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a

  committee of Congress or either House of Congress.

  (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code, Section
  5104(e)(2)(D))




                                                MICHAEL R. SHERWIN
                                                Acting United States Attorney
                                                N.Y. Bar No. 4444188


                                        BY:     /s/Jessi Camille Brooks
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